          Case 4:25-cr-00052-YGR            Document 1-1     Filed 02/25/25         Page 1 of 1
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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
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Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.
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    86$9 BRYAN BARNES                                           &5 4:25-cr-00052-MAG

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